Case 18-54894-jrs     Doc 130     Filed 10/12/18 Entered 10/12/18 16:09:34        Desc Main
                                  Document      Page 1 of 5


                      UNITED STATES BANKRUPTCY COURT
                       NORTHERN DISTRICT OF GEORGIA
                              ATLANTA DIVISION

IN RE:
                                                    CHAPTER 11
DULUTH TRAVEL, INC.,
                                                    CASE NO. 18-54894-JRS
       Debtor.


   THIRD JOINT STIPULATION TO EXTEND TIME TO FILE OBJECTIONS
       TO PLAN AND BALLOTS ACCEPTING OR REJECTING PLAN

       NOW COME Duluth Travel, Inc. (“Debtor”), and Gwinnett Community Bank

(“GCB”), the Debtor and a creditor in the above-styled bankruptcy case, and file this Joint

Stipulation for an extension of time.

       THE UNDERSIGNED hereby stipulate as follows:

                                               1.

       On August 17, 2018, Debtor filed its Plan of Reorganization, which was amended

on October 4, 2018 (the “Plan”), and related Disclosure Statement (the “Disclosure

Statement”).

                                               2.

       On August 24, 2018, the Court entered an Order conditionally approving the

Disclosure Statement and setting October 1, 2018, as the deadline for creditors and parties

in interest to file objections to the Plan and/or final approval of the Disclosure Statement,

as well as to file ballots accepting or rejecting the Plan.
Case 18-54894-jrs    Doc 130       Filed 10/12/18 Entered 10/12/18 16:09:34      Desc Main
                                   Document      Page 2 of 5


                                               3.

       Debtor and GCB, in furtherance of finalizing plan language as to GCB’s plan

treatment, previously agreed that GCB shall have through and including October 8, 2018,

to file objections to the Plan, final approval of the Disclosure Statement and a ballot

accepting or rejecting the Plan.

                                               4.

       Debtor and GCB previously stipulated and agreed that GCB shall have through

and including October 12, 2018, to file objections to the Plan, final approval of the

Disclosure Statement and a ballot accepting or rejecting the Plan, to allow Debtor and

GCB continue to negotiate consensual plan treatment.

                                               5.

       Debtor and GCB continue to negotiate final issues related to its plan treatment

including proposed loan documents. Therefore, Debtor and GCB stipulate and agree that

GCB shall have through and including October 15, 2018, to file objections to the Plan,

final approval of the Disclosure Statement and a ballot accepting or rejecting the Plan.

       This 12th day of October, 2018.

                                         SMALL HERRIN, LLP
                                         Counsel to Debtor

                                         By:        /s/ Anna M. Humnicky
                                                     Gus H. Small
                                                     GA Bar No. 653200
                                                     Anna M. Humnicky
                                                     GA Bar No. 377850
Case 18-54894-jrs   Doc 130   Filed 10/12/18 Entered 10/12/18 16:09:34   Desc Main
                              Document      Page 3 of 5


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                                    James Bates Brannan Groover LLP
                                    Counsel to Gwinnett Community Bank

                                     By:    /s/ Doroteya Wozniak       signed with
                                express permission by Anna M. Humnicky
                                             Doroteya Wozniak
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Case 18-54894-jrs     Doc 130   Filed 10/12/18 Entered 10/12/18 16:09:34   Desc Main
                                Document      Page 4 of 5


                     UNITED STATES BANKRUPTCY COURT
                      NORTHERN DISTRICT OF GEORGIA
                             ATLANTA DIVISION

IN RE:
                                              CHAPTER 11
DULUTH TRAVEL, INC.,
                                              CASE NO. 18-54894-JRS
      Debtor.


                            CERTIFICATE OF SERVICE

       I, ANNA M. HUMNICKY, certify that I am over the age of 18 and that on this
date, I served copies of the foregoing THIRD JOINT STIPULATION TO EXTEND
TIME TO FILE OBJECTIONS TO PLAN AND BALLOTS ACCEPTING OR
REJECTING PLAN, by Electronic Mail, as indicated on the persons or entities at the
email addresses as indicated in Exhibit A.

         Dated: October 12, 2018.

                                    By:    /s/ Anna M. Humnicky
                                          Anna M. Humnicky
                                          GA Bar No. 377850

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Case 18-54894-jrs   Doc 130   Filed 10/12/18 Entered 10/12/18 16:09:34   Desc Main
                              Document      Page 5 of 5


                                   EXHIBIT A
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